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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAY ANDERSON,                                  :
         Plaintiff,                            :       CIVIL ACTION
                                               :
       v.                                      :
                                               :
LOWE’S HOME CENTERS, LLC,                      :       No. 21-2292
         Defendant.                            :


                                          ORDER


       AND NOW, this 14th day of June, 2022, upon consideration of Defendant Lowe’s Home

Centers, LLC’s (“Lowe’s”) Motion for Summary Judgment, Plaintiff Ray Anderson’s response

thereto, and Lowe’s reply thereon, it is hereby ORDERED that the motion (ECF No. 8) is

GRANTED in part and DENIED in part as follows:

             •   Summary judgment is GRANTED as to Count One, Count Two’s hostile work

                 environment claim, Count Three, and Count Four to the extent it asserts a claim or

                 theory of liability other than failure to accommodate.

             •   Summary judgment is DENIED as to Count Two’s failure to accommodate claim

                 and Count Four to the extent it asserts a failure to accommodate claim.



                                               BY THE COURT:




                                               Berle M. Schiller, J.
